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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 OMAR WILSON,

                          Plaintiff,

        v.                                                        CIVIL ACTION
                                                                  NO. 22-949
 CHESTER TOWNSHIP POLICE
 DEPARTMENT, et al.,

                          Defendants.



                                             ORDER
       AND NOW, this 13th day of March 2023, upon consideration of Plaintiff’s

Motion for Leave to File Amended Complaint (ECF 13) and Defendants’ Response (ECF

15), it is hereby ORDERED that Plaintiff’s Motion is DENIED without prejudice.

       Plaintiff may refile his Motion for Leave to Amend, with a Proposed Second

Amended Complaint attached, no later than April 12, 2023.1


                                                              BY THE COURT:



                                                              /s/ Gerald J. Pappert
                                                              GERALD J. PAPPERT, J.




         1       Because Defendants do not consent, and Plaintiff has amended once before, the Court
must determine whether leave to amend is appropriate. Fed. R. Civ. P. 15(a)(2). Courts should
“freely” grant leave when “justice so requires,” and this mandate is “to be heeded.” Id; Foman v.
Davis, 371 U.S. 178, 182 (1962). Plaintiff’s Motion only includes a vague description of his proposed
amendments. Plaintiff must provide a Proposed Second Amended Complaint so the Court can fully
evaluate whether justice requires granting his request. See Heyl & Patterson Int’l, Inc. v. F.D. Rich
Housing, 663 F.2d 419, 425 (3d. Cir. 1981). Should Plaintiff’s refiled Motion be granted, his
Proposed Second Amended Complaint will be deemed filed at that time.
